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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                      )
In re                                                 )      Chapter 11
                                                      )
TOUGH MUDDER INC., et al.,1                           )      Case No. 20-10036 (CSS)
                                                      )
                     Debtors.                         )      Joint Administration Requested
                                                      )
                                                      )      RE: D.I. 37, 38, 39
                                                      )

                                       NOTICE OF SERVICE

                I, Brett S. Turlington, hereby certify that I am not less than 18 years of age, and

that service of the Chapter 11 Trustee’s Motion for Entry of an Order Directing the Joint

Administration of the Debtors’ Chapter 11 Cases [D.I. 37], Chapter 11 Trustee’s Motion for

Entry of an Order Authorizing Debtors’ Chapter 11 Trustee to File a Consolidated List of

Debtors’ 20 Largest Unsecured Creditors [D.I. 38], and Chapter 11 Trustee’s Motion for Entry of

an Order Pursuant to Bankruptcy Rule 1007(c) Extending the Time to File Schedules of Assets

and Liabilities and Statements of Financial Affairs [D.I. 39] was caused to be made on February

11, 2020, in the manner indicated upon the parties identified on the service list attached hereto as

Exhibit A.


                            [Remainder of Page Intentionally Left Blank]




1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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Dated: February 12, 2020        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                /s/ Brett S. Turlington
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                                Matthew B. Harvey (No. 5186)
                                Joseph C. Barsalona II (No. 6102)
                                Matthew O. Talmo (No. 6333)
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                            Proposed Counsel for Derek C. Abbott, Esq., as Chapter 11
                            Trustee to Tough Mudder Inc. and Tough Mudder Event
                            Production Incorporated
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                     EXHIBIT A
